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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
       Plaintiff,
vs.                                                                           CR-20-1370 KWR
JULIAN LUCAS GARCIA, III,
       Defendant.
                     ORDER GRANTING CONTINUANCE OF TRIAL
                            AND PRETRIAL DEADLINES

       THIS MATTER is before the Court on Defendant’s First Unopposed Motion to

Continue Trial and Motion to Extend Time to File Motions filed July 13, 2020 (Doc. 19). The

Court having considered the motion and having considered the holding in United States v.

Toombs, 574 F.3d 1262 (10th Cir. 2009), finds that the Defendant has by his motion, created a

sufficient record to justify granting the motion to continue. See id., 574 F.3d at 1271 (requiring

that the record on a motion to continue contain an explanation of why the mere occurrence of the

event identified by the party as necessitating the continuance results in the need for additional

time). Additionally, the Court finds that further, pursuant to the relevant factors under 18

U.S.C. §3161(h)(7)(B)(i-iv), the Defendant’s need to review discovery, meet with counsel and

conduct his investigation justify the continuance. Therefore, all the time from the filing of the

motion until the beginning of jury selection in this matter shall be excluded for the purposes of

the Speedy Trial Act.

       IT IS THEREFORE ORDERED that the Jury Selection/Trial of August 10, 2020 is

VACATED.        Call of the Calendar is reset for October 8, 2020, at 9:00 a.m. and Jury

Selection/Trial is reset for October 13, 2020, at 9:00 a.m., on a trailing docket at the United States

Courthouse, 333 Lomas Blvd., NW, Bonito Courtroom, before Judge Kea W. Riggs in
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Albuquerque, New Mexico.

       IT IS FURTHER ORDERED that the substantive motion deadline is hereby extended

until September 7, 2020.

       IT IS FURTHER ORDERED that, so as to conserve judicial resources, any motion to

continue trial must be filed no later than September 28, 2020.

       IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161(h)(7)(A), the Court finds

that the ends of justice served by granting the unopposed motion for continuance outweigh the best

interest of the public and the defendant in a speedy trial.

       IT IS FINALLY ORDERED that counsel shall adhere to the instructions and case

management deadlines as set forth in the following attachment, “Preparation for Criminal Trial”

(includes guidelines for preparation of proposed jury instructions, JERS Informational Letter, and

JERS Attorney Guide).




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                  PLEASE REFER TO THE FOLLOWING
       ATTACHMENTS FOR ADDITIONAL DEADLINES AND INFORMATION:

“Preparation for Criminal Trial” (includes guidelines for preparation of proposed jury
instructions, JERS Informational Letter, and JERS Attorney Guide).


        OTHER INSTRUCTIONS/MOTION TO CONTINUE TRIAL DEADLINE:
Motions for continuance in criminal cases must be filed in accordance with 18 U.S.C. §
3161(h)(7)(A), specifically setting forth the factual grounds justifying the continuance
under the statute. In cases involving multiple defendants, counsel must file a joint motion
for continuance with all counsel approving said motion. MOTIONS TO CONTINUE
MUST COMPLY WITH THE SPECIFIC REQUIREMENTS SET FORTH IN UNITED
STATES V. TOOMBS, 574 F.3D 1262 (10TH CIR. 2009). THE MOTION “MUST
CONTAIN AN EXPLANATION OF WHY THE MERE OCCURRENCE OF THE
EVENT IDENTIFIED BY THE PARTY AS NECESSITATING THE CONTINUANCE
RESULTS IN THE NEED FOR ADDITIONAL TIME.”                        ID. AT 1271.     MOTIONS
CONTAINING SHORT, CONCLUSORY STATEMENTS REGARDING THE REASON
A CONTINUANCE IS REQUESTED ARE INSUFFICIENT UNDER TOOMBS AND
WILL BE SUMMARILY DENIED BY THE COURT.


                                 TRAILING TRIAL DOCKET:
Counsel are referred to the trailing docket of cases as they appear for jury/selection trial on the
Public Court Calendar for September, 2020.      The order in which cases appear on the Court
Calendar does not necessarily reflect the order in which cases will be tried.




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